     Case: 1:17-cv-02635-CAB Doc #: 203 Filed: 02/15/23 1 of 2. PageID #: 14706




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


JAMES HAYDEN,                                   CASE NO. 1:17-cv-02635-CAB

               Plaintiff,

v.

2K GAMES, INC. and TAKE-TWO
INTERACTIVE SOFTWARE, INC.,

               Defendants.


          UNOPPOSED MOTION TO RESCHEDULE THE FINAL PRE-TRIAL
                 AND THE ATTORNEY STATUS CONFERENCE

       Defendants 2K Games, Inc. and Take-Two Interactive Software, Inc. (collectively,

“Take-Two”) hereby move unopposed to reschedule the Final Pre-Trial from May 16, 2023 at

2:00 pm ET, to May 2, 2023 at a time that works for the Court, and to reschedule the in-person

Attorney Status Conference from April 3, 2023 at 2:00 pm ET, to March 30, 2023 at a time that

works for the Court.

       Take-Two appreciates that the Court was able to work around Take-Two’s May 2023

scheduling conflicts when it rescheduled trial to commence on June 14, 2023. Unfortunately,

Take-Two has one of these same conflicts with the currently scheduled May 16 Final Pre-Trial.

Take-Two’s counsel also has a scheduling conflict on Monday, April 3, when the Court has set

an in-person conference to discuss the timing of the Supreme Court ruling in Andy Warhol

Foundation for Visual Arts, Inc. v. Goldsmith, to view the courtroom layout, and to discuss

technology needed for trial presentation.

       Take-Two conferred with Plaintiff’s counsel and they indicated that they do not oppose

Take-Two’s request to reschedule these two dates and also indicated they were available for a
   Case: 1:17-cv-02635-CAB Doc #: 203 Filed: 02/15/23 2 of 2. PageID #: 14707




Final Pre-Trial on May 2, 2023, and available for an Attorney Status Conference on March 30,

2023.


 Dated: February 15, 2023
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                                                     Attorneys for Take-Two 2K Games, Inc. and
                                                     Take-Two Interactive Software, Inc.




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